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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

IN RE:
                                                              Case Number: 18-15111-LMI

ARTURO ENRIQUE REYES
GRISELDA REYES
      Debtor
____________________________/


                  OBJECTION TO MOTION TO ALLOW LATE CLAIM (#58)

         Nancy K Neidich, Standing Chapter 13 Trustee ("Trustee") files this Objection to the

Motion to Allow Late Claim and states as follows:

         1) Creditor 559 8th Street Partners LLC admits that it filed Claim #16 after the claims bar

date.

         2) The filing of a proof of claim in Chapter 13 is governed by Federal Rules of

Bankruptcy Procedure (Rule) 3002. An unsecured creditor must file a timely proof of claim to

hold an allowed unsecured claim pursuant to Rule 3002(a). In addition, Rule 3002(c) requires

that proof of claim must be filed not later than 70 days after the order for relief. These Rules do

provide for five (5) specific exceptions, none of which apply in this case. Rule 9006(b)(3)

specifically limits the conditions under which the courts may enlarge the time for filing a proof of

claim to those five specific exceptions listed in Rules 3002(c). Accordingly, the Court is unable

to extend the bar date pursuant to the Rules.

         In fact, when the Supreme Court found excusable neglect for the late filing of a proof of

claim in a Chapter 11, it excluded Chapter 13 and Chapter 7 from its findings. Pioneer Inv.
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Services Co. v. Brunswick Associates Ltd. Partnership, 507 U.S. 380, 113 S.Ct. 1489, 1505, 123

L.Ed.2d 74, (U.S.Tenn. 1993), Footnote 4 states:

                “The time-computation and time-extension provisions of Rule 9006, like
       those of Federal Rule of Civil Procedure 6, are generally applicable to any time
       requirement found elsewhere in the rules unless expressly excepted. Subsections
       (b)(2) and (b)(3) of Rule 9006 enumerate those time requirements excluded from
       the operation of the "excusable neglect" standard. One of the time requirements
       listed as excepted in Rule 9006(b)(3) is that governing the filing of proofs of
       claim in Chapter 7 cases. Such filings are governed exclusively by Rule 3002(c).
       See Rule 9006(b)(3); By contrast, Rule 9006(b) does not make a similar
       exception for Rule 3003(c), which, as noted earlier, establishes the time
       requirements for proofs of claim in Chapter 11 cases. Consequently, Rule
       9006(b)(1) must be construed to govern the permissibility of late filings in
       Chapter 11 bankruptcies.” Pioneer Inv. Services Co. v. Brunswick Associates Ltd.
       Partnership, 507 U.S. 380, 113 S.Ct. 1489, 1505, 123 L.Ed.2d 74, (U.S.Tenn.
       1993)

       The Rules governing proof of claims in Chapter 7 are the same as those governing in

Chapter 13. Consequently, the Supreme Court’s analysis would be applied in a Chapter 13. Just

as in a Chapter 7 case, a Chapter 13 case has a finite period of existence. If a unsecured creditor

filed a proof of claim after the distribution of funds has begun to creditors, it would create an

administrative burden on the Trustee to re-calculate the pro rata percentage due to each creditor.

Furthermore, the Trustee may be required to seek a return of funds from creditors already paid or

to seek an increase in the debtor’s payments to pay the late claim’s pro rata share.

       3) Rule 3002(6) provides for an extension of the bar date if the Debtor fails to file the list

of creditor names or address or if the notice was insufficient and mailed to a foreign address.

       4) The address listed on Schedule E is an address listed on the 2018 Florida Limited

Liability Company Annual Report for 559 8th Street Partners LLC .

       5) 559 8th Street Partners LLC had timely actual notice of the bankruptcy by the filing of

a suggestion of Bankruptcy in the State Court Case, 559 8TH STREET PARTNERS (LLC) VS
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REYES, ARTURO, Local Case Number: 2012-044242-CA-01.

        6) The state court attorney for 559 8th Street Partners LLC as also listed in Schedule E

as a creditor.

        WHEREFORE, the Trustee objects to the Motion to Allow Late Claim.


                                     RESPECTFULLY SUBMITTED:
                                               NANCY K. NEIDICH, ESQUIRE
                                               STANDING CHAPTER 13 TRUSTEE
                                               P.O. BOX 279806
                                               MIRAMAR, FL 33027-9806

                                                    By: /s/___________________
                                                            Amy E. Carrington, Esq.
                                                            Senior Staff Attorney
                                                            FLORIDA BAR NO: 101877

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this and the Notice of Hearing was served
through NEF on Patrick L Cordero, Esq on behalf of Debtor Arturo Enrique Reyes and Debtor
Griselda Reyes, and Henry Hernandez, Esq. on behalf of Creditor 559 8th Street Partners LLC
on




                                                    /s/
                                                    Amy E Carrington, Esq
